         Case 1:25-cv-00840-RCL          Document 30       Filed 05/29/25     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 OPEN TECHNOLOGY FUND,

                        Plaintiff,                       Civil Action No. 1:25-cv-840-RCL

    v.                                                   NOTICE OF SUPPLEMENTAL
                                                         AUTHORITY IN SUPPORT OF
 KARI LAKE et al.,                                       PENDING MOTION FOR
                                                         PRELIMINARY INJUNCTION
                        Defendants.


         On May 28, 2025, the U.S. Court of Appeals for the D.C. Circuit issued an order in

several consolidated appeals regarding the actions of Defendant U.S. Agency for Global Media

(“USAGM”). See Order, Widakuswara v. Lake, No. 25-5144 et al. (D.C. Cir. May 28, 2025)

(attached hereto as Attachment 1).

         In its Order, the D.C. Circuit en banc vacated the stay imposed by the motions panel in

cases involving USAGM’s failure to make payments due to two other USAGM grantees, the

Middle East Broadcasting Networks, Inc. and Radio Free Asia. (Case Nos. 25-5150 & 25-5151).

The en banc Court explained that the government “has not made the requisite ‘strong showing’

of a likelihood of success on the merits[],” that the government “has not contested the appellee

grantee networks’ claims of irreparable injury[,]” and that the government “has not shown that

the equities weigh in favor of a stay pending appeal[.]” Order at 2-3.

         In the preliminary injunction pending before the Court, the Defendants relied

significantly upon the now vacated stay order of the motions panel.




Notice of Suppl. Authority - 1
Open Technology Fund v. Lake, No. 1:25-cv-840-RCL
      Case 1:25-cv-00840-RCL        Document 30        Filed 05/29/25   Page 2 of 2




      Dated this 29th day of May, 2025.


                                      VAN NESS FELDMAN, LLP

                                      /s/ Patrick O. Daugherty
                                      Patrick O. Daugherty, D.C. Bar No. 981008
                                      Michael Farber, D.C. Bar No. 449215
                                               (Admission Pending)
                                      2000 Pennsylvania Avenue, NW
                                      Suite 6000
                                      Washington, DC 20006
                                      Tel.: 202-298-1800
                                      Email: pod@vnf.com; mfarber@vnf.com


                                      Sophia E. Amberson, WA Bar No. 52528
                                                Pro Hac Vice
                                      Liberty Quihuis, WA Bar No. 57779
                                                Pro Hac Vice
                                      1191 Second Avenue
                                      Suite 1800
                                      Seattle, WA 98101
                                      Tel.: 206-623-9372
                                      Email: samberson@vnf.com; lquihuis@vnf.com

                                      Attorneys for Plaintiff




Notice of Suppl. Authority - 2
Open Technology Fund v. Lake, No. 1:25-cv-840-RCL
